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PAUL J. FISHMAN
United States Attorney
JORDAN ANGER
Assistant U.S. Attorney
970 Broad Street, Room 700
Newark, NJ 07102
Tel. 973-645-2928
Fax. 973-645-3210
email: @usdoj.gov
LABO321
(FLU :KJ)

                        UNITED STATES DISTRICT Co UR T
                           DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA,                                    HON.

                                      Plaintijf               Criminal No. 94-647

        V.                                                      ORDER FOR
                                                              REMISSION OF FINE
 NARCISCO FELIX,

                                      Defendant.

       This matter having been opened to the Court by PAUL J. FISHMAN, United States

Attorney for the District of New Jersey (Leah A. Bynon, Assistant U.S. Attorney, appearing), and

the Court having considered the Petition for Remission of Fine, and for good cause shown,

       IT IS onthis      IV          day of               ,2012,

       ORDERED, that the balance of the fine imposed on April 13, 1998, in the amount of

$1,587.77 is hereby remitted.




                                                       STATES DISTRICT JUDGE
